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                                      UNITED STATES DISTRICT COURT
                                             DISTRICT OF MARYLAND

          CHAMBERS OF                                                                       U.S. COURTHOUSE
         CHARLES B. DAY                                                                  6500 CHERRYWOOD LANE
UNITED STATES MAGISTRATE JUDGE                                                         GREENBELT, MARYLAND 20770
                                                                                               (301) 344-0393


                                                October 15, 2021


        Via Electronic Filing

        To:      Counsel of Record

        Re:      Wade et al v. CBH Health, LLC. et al

        Dear Counsel:

               A copy of the Report and Recommendation rendered in the above-captioned case is
        enclosed. Any objections you wish to make thereto must be made in writing and within 14
        days pursuant to Federal Rule of Civil Procedure 72(b)(2), a copy of which is enclosed.

               After the time for filing written objections has expired, Judge Paula Xinis will review the
        Report and Recommendation regardless of whether you have filed written objections to it. If you
        should fail to file written objections within the time set forth above (or within the time of any
        extension specifically granted by the Court) and Judge Xinis subsequently adopts the Report and
        Recommendation, you will have lost your right to appeal the finding of the Report and
        Recommendation to the United States Court of Appeals for the Fourth Circuit.

                                                            Very truly yours,


                                                                          /s/
                                                            Charles B. Day
                                                            United States Magistrate Judge
        CBD/pjkm
